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United States District Court
Southern District Of Texas

AO 91 (Rev. 11/11) Criminal Complaint FILED
OCT 12 2019
UNITED STATES DISTRICT COURT.

J. Bradley, Clerk
for the David ¥

SOUTHERN DISTRICT OF TEXAS

United States of America
Case No. mM-4 ~ QY ¢ K- nN

 

Vv.

HERNANDEZ, Adam YOB: 1972 POB: US
VEGA-Olvera, Gilberto YOB: 1992 POB:MxX

 

Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of 8/12/2019 in the county of Hidalgo
SOUTHERN District of TEXAS , the defendant(s) violated:

Code Section Offense Description

21 USC 841 (a) (1) Knowingly and intentionally possess with
intent to distribute approximately 32.1
kilograms of cocaine, schedule II
controlled substances.

This criminal complaint is based on these facts:

(See Attachment I)

7] Continued on the attached sheet.

Submitted by reliable electronic means, sworn

to and attested to telephonically per =
Fed. R. P. 4.1, and probable cause . —
found on;

 

Complainant's signature

 

ohne Zaruba, DEA Special Agent

Approved by: Sarina Dipiazza . Printed name and
Sworn to before me and signed in my presence. Chow
Date: 10/12/2019

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City and state: McAllen, Texas J. sco’ ik taerrete Judge

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ATTACHMENT |

On October 11, 2019, Drug Enforcement Administration (DEA) Agents were conducting a
narcotics investigation at a residence located in Mission, TX, hereafter referred to as the TARGET
RESIDENCE. At approximately 3:40 PM agents observed a gray Volkswagen Jetta bearing buyer
paper tags, 47562V9, hereafter referred to as the TARGET VEHICLE, arrive at the Target
Residence.

At approximately 3:43 PM Agents observed a male later identified as Gilberto VEGA-OLVERA, exit
the TARGET VEHICLE and make contact with another male, later identified as Adam HERNANDEZ.
Agents further observed both individuals enter the TARGET RESIDENCE and exit through the
garage with VEGA-OLVERA carrying a black bag walking along side HERNANDEZ. VEGA-OLVERA
was then observed placing the black bag into the trunk of the TARGET VEHICLE.

At approximately 3:48 PM VEGA-OLVERA departed the TARGET RESIDENCE in the TARGET
VEHICLE.

At approximately 3:51PM, Mission Police Department Police Officer Francisco Garza conducted
an independent probable cause traffic stop on the TARGET VEHICLE. Upon conducting the traffic
stop, Officer Garza made contact with VEGA-OLVERA, the sole occupant of the vehicle. VEGA-
OLVERA provided Officer Garza consent to search the vehicle.

A search of the TARGET VEHICLE by Officer Garza resulted in the finding of twenty-five (25)
bundles of suspected cocaine wrapped in tape (Approximately 32.1 kilograms) located within the
glove box and trunk of the TARGET VEHICLE.

VEGA-OLVERA was detained and transported to the Mission Police Department for further
questioning.

DEA Special Agents responded to the Mission Police Department and interviewed VEGA-OLVERA.
TFO Lucio read VEGA-OLVERA his Miranda rights in his preferred language of Spanish, VEGA-
OLVERA understood his rights and was willing to speak to agents without the presence of an
attorney, witnessed by Agent Zaruba.

VEGA-OLVERA admitted to picking up the aforementioned cocaine from a residence in Mission,
Texas. VEGA-OLVERA told agents that HERNANDEZ provided him with the cocaine that were
found in his vehicle and he identified HERNANDEZ by picture as the person that provided him
with the cocaine when he arrived at the residence. VEGA-OLVERA told agents that he would get
paid $1,000 a week for picking up cocaine from different people.

TFO Lucio received consent from VEGA-OLVERA to search his phones and TFO Lucio placed a
phone call to phone number that VEGA-OLVERA stated belonged to HERNANDEZ. DEA Agents
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ATTACHMENT |

who were at a consent to search at the TARGET RESIDENCE and had HERNANDEZ’s cell phone
confirmed that HERNANDEZ’s phone rang.

DEA Agents arrested HERNANDEZ and transported HERNANDEZ to the DEA McAllen, Texas office
for questioning and processing.

HERNANDEZ was read his rights in his preferred language of English and requested an attorney,
witnessed by SA Zaruba.

A Field test was conducted on one brick of suspected narcotics, and it tested positive to the

presence of cocaine. The twenty-five (25) bundles had a combined weight of approximately 32.1
kilograms.
